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13                              UNITED STATES DISTRICT COURT
14
                             NORTHERN DISTRICT OF CALIFORNIA
15
                                    SAN FRANCISCO DIVISION
16

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18                                                  Case No. 4:20-mc-80214 DMR
     In re DMCA Sec. 512(h) Subpoena to
19   Twitter, Inc.                                  TWITTER’S REPLY IN SUPPORT OF
                                                    ITS MOTION TO QUASH
20

21                                                  Date:    March 11, 2021
                                                    Time:    1:00 p.m.
22                                                  Judge:   Hon. Donna M. Ryu
                                                             Courtroom 4, 3rd Floor
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 1                                       I.     INTRODUCTION

 2          Twitter, Inc. (“Twitter”) respectfully requests that the Court grant its Motion to Quash

 3   (“Motion”) the subpoena served on it by Bayside Advisory LLC (“Bayside”). Bayside is

 4   attempting to unmask and sue an anonymous Twitter user (the “Account”) for commenting on the

 5   lifestyle of Brian Sheth, a newsworthy billionaire. The Court should quash Bayside’s subpoena to

 6   unmask that user if Bayside has not overcome that user’s First Amendment right to anonymous

 7   speech. While Bayside makes much ado about alleged copyright infringement, it does not appear

 8   there is infringement here. Where copyrighted photographs are used as a means of critique,

 9   comment, or mockery, that use is fair and not infringing.

10          Whether the Court chooses to employ the Sony standard or the Highfields standard

11   impacts only whether the Court engages in a balancing test. The Highfields standard is more

12   appropriate here because Sony applies only in cases of naked copyright infringement—such as

13   music piracy—devoid of any First Amendment expression. That is not the situation here. The

14   alleged copyright was accompanied by critical commentary. And, as a result, the Court should

15   engage in a balancing of harms that would result in the subpoena being quashed if Bayside has

16   established no benefit, economic or otherwise, to pursuing an infringement action. But, again,

17   under either standard, the Court should quash the subpoena if the user engaged in fair use, a

18   dispositive fact under both Sony and Highfields.

19          Finally, Bayside’s remarks as to Twitter’s DMCA practices and the timeliness of Twitter’s

20   Motion are easily dismissed. Twitter’s DMCA practices have nothing to do with the present

21   discovery dispute. Bayside’s counsel expressly conceded that fact after Twitter filed its Motion.

22   In asking Twitter to withdraw its Motion, Bayside told Twitter that it would describe Twitter’s

23   DMCA practices in order to “expose” Twitter to potential copyright claims by future litigants.

24   Thus, Bayside’s arguments appear designed to pressure Twitter to withdraw its objections. And

25   Bayside is simply wrong that Twitter’s Motion was untimely. Twitter properly filed its motion

26   after timely serving written objections.

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                                                                    TWITTER’S REPLY ISO MOTION TO QUASH
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 1                                            II.     ARGUMENT

 2   A.      The Court Should Grant Twitter’s Motion if the Tweets Are Fair Use.

 3           The Court should quash Bayside’s subpoena if the Account was engaged in fair use.

 4   While Bayside contends that copyright infringement is not protected by the First Amendment, fair

 5   use is not merely a defense to copyright infringement, “but rather is a use that is not infringing at

 6   all.” In re DMCA Subpoena to Reddit, Inc., 441 F. Supp. 3d 875, 883 (N.D. Cal. 2020). And even

 7   if the Court employed the Sony standard that Bayside favors, it appears fair use would preclude

 8   Bayside’s ability to establish a prima facie case of infringement under that standard. Thus, if the

 9   Court decides that the Account was engaged in fair use, the inquiry ends and the subpoena should

10   be quashed. See id. (“if the fair use inquiry demonstrates that Darkspilver is not an infringer of

11   Watch Tower's copyrighted works, the subpoena must be quashed.”).

12           Bayside’s only response to the importance of fair use here is that only the user should be

13   permitted to raise such an argument, after being unmasked, in an eventual lawsuit in which he or

14   she is named. Opposition, at 14-15. This exact argument was rejected by this Court less than a

15   year ago in Reddit, which called the argument “surprising…given that [the requestor] was

16   required to evaluate fair use before sending its take-down notice[.]” Reddit, 441 F. Supp. 3d at

17   886. Reddit recognized two other reasons to reject the argument. First, there is no reason to wait;

18   the Court has all the information it would need at this point to confirm that fair use protects the

19   user. Id. And second, Bayside’s argument is “contrary to the law.” Id. at 887. The user need not

20   “raise” the argument in defense in an eventual lawsuit because there should be no eventual

21   lawsuit; fair use precludes a plaintiff’s ability to bring suit. Id.

22           In addition, this Court should reject the argument that the user should raise a fair use

23   defense in a lawsuit because allowing unmasking at this stage would chill First Amendment

24   activity. See Art of Living Found. v. Does 1-10, No. 10-CV-05022-LHK, 2011 WL 5444622, at

25   *7 (N.D. Cal. Nov. 9, 2011) (“courts should determine whether a discovery request is likely to

26   result in chilling protected activity.”). Revelation of the Account’s identity, so that Bayside can

27   sue them to “test” their fair use argument, exposes the user to “the financial and other burdens of

28   defending against a multi-count lawsuit-perhaps in a remote jurisdiction.” Highfields Cap. Mgmt.,
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 1   L.P. v. Doe, 385 F. Supp. 2d 969, 981 (N.D. Cal. 2005). “Very few would-be commentators are
 2   likely to be prepared to bear costs of this magnitude. So, when word gets out that the price tag of
 3   effective sardonic speech is this high, that speech likely will disappear.” Id. Of course, if fair use
 4   were permitted to be challenged via unmasking-and-subsequent-lawsuit by all copyright holders,
 5   fair use would drastically decline.
 6   B.     The Tweets Were Fair Use
 7          1.      The Uses Were Fair as Non-Commercial and Transformative
 8          Bayside contends that the Tweets were not transformative because the Account did not
 9   alter, criticize, or comment on the photographs themselves. Opposition, at 17. In support, Bayside
10   cites Monge v. Maya Mags., Inc., 688 F.3d 1164 (9th Cir. 2012), a case in which celebrities sued
11   a tabloid for publishing photographs of their secret wedding. Monge dealt with an entirely
12   different type of fair use: news reporting for profit. Id. at 1173. Consequently, its entire discussion
13   on the transformative nature of tabloid publications is inapposite; the Account at issue here was
14   not reporting any news or making any money. And Bayside falls short in arguing that the Tweets
15   at issue here were commercial, a significant component of the first fair use factor. 17 U.S.C. §
16   107(1). A tabloid’s publication of photographs is undeniably commercial, a factor upon which the
17   entire Monge decision turned. See Monge, 688 F.3d at 1176–77 (“Maya’s use was undisputedly
18   commercial in nature…Maya’s minimal transformation of the photos is substantially undercut by
19   its undisputed commercial use.”). In contrast, Bayside merely argues that these Tweets were
20   commercial because “if” the Tweets had gone viral, the Account “would” attract more followers,
21   which may lead to the Account pursuing a new career as a “paid influencer.” Opposition, at 19.
22   Such a broad interpretation of the commerciality factor would gut the factor and embolden
23   copyright litigants to invent equally attenuated fictions to overcome any claim of fair use.
24          Instead, this case is far more like Katz v. Google Inc., 802 F.3d 1178 (11th Cir. 2015), the
25   case illustrated in Twitter’s Motion, wherein the Eleventh Circuit found fair use where a blogger
26   used a copyrighted photo to ridicule and criticize someone. Bayside attempts to distinguish Katz
27   by suggesting that the use there was only fair because the blogger commented on the photograph
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 1   itself. Opposition, at 18. Not so. And Bayside offers no support for that rule. As Twitter explained
 2   in its Motion, Katz identified three separate uses of the photograph by the blogger: “(1) copied in
 3   its unaltered, original state; (2) accompanied by sharply worded captions; [and] (3) cropped and
 4   pasted into mocking cartoons.” Katz then recognized “[e]very use” to be fair and transformative,
 5   as the photo was placed into the context of a blog intended to ridicule and satirize that plaintiff.
 6   Id. at 1182–83. This Account at issue here appears to exist to criticize individuals and
 7   participants in the private equity industry. In the context of the Account, and with the context
 8   provided by the text offered alongside the photos (“Life is good when you’re a 44-year old
 9   private equity billionaire”), the Account appears to have been engaged in ridicule and
10   commentary when it used the photographs. See also Sedgwick Claims Mgmt. Svcs., Inc. v.
11   Delsman, No. C 09-1468 SBA, 2009 WL 2157573, at *5 (N.D. Cal. July 17, 2009) (finding
12   transformative a defendant’s use of copyrighted portraits of executives of plaintiff’s organization,
13   superimposed on postcards mimicking “WANTED” posters, where defendant did not alter or
14   comment on the photographs themselves).
15          2.      Candid Photographs Do Not Warrant Protection
16          Bayside concedes that candid photographs do not warrant copyright protection such that
17   their use is generally considered fair.1 Instead, Bayside argues that the photographs are not
18   candid. But Bayside’s argument lacks any evidence in support. It fails to identify any
19   photographer, the subjects of the photographs, or, as Katz put it, any evidence that “the
20   photographer [] attempted to convey ideas, emotions, or in any way influence [the subjects’] pose,
21   expression, or clothing.” Katz, 802 F.3d at 1183. One of the photographs at issue is a blurry
22   snapshot depicting a woman on a private plane, mid-sentence, looking at something off-camera.
23   Opposition, Ex. 1. Another is a poorly-lit image of a woman, at night, standing in front of a large
24   letter “B,” with what appears to be a section of a chair captured in the foreground and the
25   backside of a poorly-lit woman accidentally captured in the background. Id. These are
26   photographs intended for social media, not for sale as fine art.
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          Bayside compiles a smattering of cases regarding stylized portraits that support Twitter’s
28   position; the law distinguishes between art and candid snapshots. Opposition, at 20.
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 1          3.      Amount and Substantiality Are Irrelevant Factors in Fair Use Analysis for
                    Photographs
 2

 3          Twitter’s Motion establishes that the substantiality of a photograph is not an issue in this
 4   fair use analysis because a photograph is not divisible in the way that a book or movie might be.
 5   Bayside’s response is that the Account used too many photographs to make its point. Bayside
 6   then cites two cases dealing with commercial publications in the celebrity news reporting context,
 7   which Twitter has explained above are inapposite to the fair use analysis here. In Monge, for
 8   instance, the news gatherer’s purpose of posting the photographs was to prove that a marriage had
 9   occurred. And for that reason, the Ninth Circuit recognized that the tabloid could have merely
10   posted a picture of the wedding certificate. Monge, 688 F.3d at 1179 (“its reporting purpose could
11   have been served through publication of the couple’s marriage certificate”). By contrast, the
12   Account’s entire purpose here appears to be to be funny or otherwise criticize Brian Sheth for
13   living a lifestyle filled with parties, planes, and women. The series of photographs are critical to
14   the punchline and to the point; Brian Sheth is often surrounded by multiple different women, or is
15   constantly throwing parties, or is constantly traveling by private plane. It is that excess at the heart
16   of the parody, and a barrage of photographs conveys that parodical message. In other words, it is
17   not for Bayside to determine the number of photographs that the Account should have used to
18   make the sardonic commentary as funny or as cutting as possible. The third factor is neutral.
19          Separately, Bayside walks a fine line here. As Monge recognizes, “[e]ach of the individual
20   [] photos is a separate work.” Id. at 1180. And as a result, the relevant inquiry here is the
21   substantiality of the use of each photograph (precisely why this factor is neutral for photographs).
22   If, instead, Bayside is contending that these photographs are a part of a collection, it has failed to
23   provide any information regarding its business that would enable this Court to decide whether a
24   small or large portion of Bayside’s collection has been used by the Account.
25          4.      There is Limited to No Potential Market for the Photographs
26          Twitter provided on-point authority for the proposition that where a plaintiff takes the
27   “highly unusual step of obtaining [a] copyright to [a] Photo and initiating [a] lawsuit specifically
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 1   to prevent its publication…there is no potential market.” Katz, 802 F.3d at 1184. This is
 2   important, as “the relevant question is not whether the work itself has lost value, but rather,
 3   whether the secondary use has usurped the commercial demand for the original.” Sedgwick, 2009
 4   WL 2157573, at *6. Where “there is no such demand, [] there is no commercial market[.]” Id.
 5   Bayside is correct that Twitter cannot introduce evidence on this point. But Bayside, tellingly, has
 6   not introduced any evidence regarding its commercial intent. As a result, at worst, the fourth fair
 7   use factor is neutral as lacking sufficient evidence to adjudicate. But the factors above,
 8   establishing that the Account’s use here was transformative, and non-commercial, and the nature
 9   of these photographs as lacking artistic merit, strongly support a finding of fair use.
10   C.     Even if the Tweets Were Not Fair Use, the Court Should Apply Highfields’
            Balancing Test to Protect the Account’s Anonymity
11

12          1.      Highfields Is the Appropriate Standard Here
13          Twitter agrees with Bayside that the First Amendment does not afford protection for
14   naked copyright infringement. But that is not at issue. Instead, both parties appear to recognize
15   that the First Amendment protects an internet speaker’s anonymity where they are engaged in
16   expression that a prospective plaintiff alleges to be copyright infringement. Even Automattic,
17   cited frequently in Bayside’s Opposition, agrees. See Signature Mgmt. Team, LLC v. Automattic,
18   941 F. Supp. 2d 1145, 1154 (N.D. Cal. 2013) (explaining that the First Amendment protects
19   anonymous online speech, even in the copyright context, and that the “degree of scrutiny varies
20   depending on the circumstances and the type of speech at issue.”). Variations in the type of
21   expression at issue will determine the degree of scrutiny under the First Amendment. Id.
22          Highfields presents the appropriate test here—not Sony—because Courts use Highfields
23   where copyrighted materials are used for commentary or criticism. See Motion, at 11 (comparing
24   Highfields, 385 F. Supp. 2d at 975-76 with Sony Music Entertainment Inc. v. Does 1-40, 326 F.
25   Supp. 2d 556 (S.D.N.Y. 2004)). As Twitter has explained, Sony offered a less protective standard
26   because the alleged infringement there was mere distribution of copyrighted music—an activity
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                                                                      TWITTER’S REPLY ISO MOTION TO QUASH
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 1   devoid of expression. See Sony, 326 F. Supp. 2d at 564 (recognizing that the “conduct qualifie[d]
 2   as speech, but only to a degree.”).
 3          In contrast, Highfields involved postings on a Yahoo! message board by an anonymous
 4   user pretending to be the plaintiff and making jokes about “going to buy a new corporate jet.”
 5   Highfields, 385 F. Supp. 2d at 973. As the Highfields court represented those messages, they were
 6   “sardonic commentary…express[ing] dissatisfaction with the … way company executives choose
 7   to spend company resources. They can also be interpreted as expressing disapproval or criticism
 8   of Highfields Capital-mocking its arrogance and condescension.” Id. at 975.
 9          Consequently, this Court, when dealing with alleged anonymous copyright infringement
10   accompanied by critical commentary, has recognized that Highfields—not Sony—offers the
11   appropriate test. Art of Living, 2011 WL 5444622, at *5 (“while Sony Music implicitly assumes
12   that the only First Amendment interest at issue is the right to anonymity, Highfields is premised
13   on the understanding that the content of the defendant's speech also has First Amendment value”).
14   Because the Account used Bayside’s photographs for the purpose of mocking or criticizing Sheth,
15   Highfields is the appropriate standard.
16          2.      The Subpoena is Unlikely to Survive First Amendment Scrutiny Under
                    Highfields’ Balancing Test
17

18          As discussed above, the only difference between Highfields and Sony significant to this
19   dispute is that Highfields requires a balancing test to be conducted even after a prospective
20   plaintiff establishes a prima facie case of infringement. Id. at *4 (noting that Highfields adds a
21   requirement for the court to “balance ‘the magnitude of the harms that would be caused to the
22   competing interests by a ruling in favor of plaintiff and by a ruling in favor of defendant.’”)
23   (citing Highfields, 385 F. Supp. 2d at 980) (additional citations omitted).2
24
        2
           Bayside attempts to argue that Highfields does not involve a balancing test by creating an
25   artificial division between the district court’s decision in that case, and the magistrate judge’s
     recommendation. That argument should be rejected; Highfields is widely understood to have
26   adopted the two-part test. See, e.g., In re PGS Home Co. Ltd., No. 19-mc-80139-JCS, 2019 WL
     6311407, at *6 (N.D. Cal. Nov. 25, 2019) (granting Twitter’s Motion to quash in applying
27   Highfields’ balancing test and concluding that “even if [the] Tweets did cause real harm, that
     harm is outweighed by the First Amendment concerns related to disclosing the speaker’s
28   identity.”).
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                                                                      TWITTER’S REPLY ISO MOTION TO QUASH
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 1          In twenty-two pages of text, Bayside does not attempt to rebut Twitter’s argument that
 2   Bayside seeks to file a copyright case for the sole purpose of silencing commentary critical of
 3   Brian Sheth. Bayside has not identified the nature of their business. It has not identified what it
 4   intends to do with the copyrighted photographs. It has not identified any market for candid
 5   photographs of this nature. It has not identified the photographer. And it has not identified the
 6   subjects of the photographs. As a result, Bayside has yet to identify any benefits it would obtain
 7   as a result of the unmasking other than the suppression of speech.
 8          Compared to the zero benefits identified by Bayside, Twitter has set forth the harms that
 9   would flow from identifying the Account. Unmasking here would be a direct abridgment of free
10   speech, permitting Bayside to weaponize copyright law to silence critics of Brian Sheth. That
11   would generate a significant chilling effect, dissuading anyone from criticizing the rich and
12   powerful with the recognition that such criticism runs the risk of costly litigation. Highfields, 385
13   F. Supp. 2d at 981 (“when word gets out that the price tag of effective sardonic speech is that
14   high, that speech likely will disappear”). Twitter has filed this Motion because of the net chilling
15   effect that this subpoena and eventual lawsuit could impose.
16          Bayside attempts to undercut those harms—again, without identifying any benefits of
17   their own—with two arguments. First, Bayside laments that the Account “has not appeared and
18   has not offered to accept service.” Opposition, at 14. And second, Bayside argues that the Tweets
19   concern “rumor and innuendo” about a “private person” rather than “matters of public concern.”
20   Id. Those are not factors relevant to a balancing test. The case that Bayside cites in support,
21   Automattic, actually recognizes the opposite: acceptance of service is irrelevant to the balancing
22   test. Automattic, 941 F. Supp. 2d at 1157 (“TEAM has an interest in obtaining Amthrax’s
23   identity…regardless of his offer to accept service through his attorney.”). And critically,
24   Automattic found that balance to weigh in favor of the plaintiff in that case on facts tellingly
25   different from those found here. Automattic dealt with an anonymous blogger who posted an
26   entire copyrighted textbook, sold by the plaintiff, on his blog, without commentary. Id. at 1149.
27   Conversely, the photographs here are not being sold by Bayside such that the Tweets could
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                                                                      TWITTER’S REPLY ISO MOTION TO QUASH
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 1   deprive Bayside of any revenues, and, more importantly, the photographs are accompanied by
 2   critical commentary warranting First Amendment protection. See supra, Part C.1.
 3            Bayside’s second argument, that the Tweets promote “rumor” about a “private person,” is
 4   similarly irrelevant. Bayside has not identified how it would benefit from ending rumors about
 5   Brian Sheth if, as Bayside contends, it has no connection to Brian Sheth. And, as importantly,
 6   Bayside has not identified any authorities providing that these “rumor” or “private person”
 7   arguments have any relevance to the requisite analysis under the First Amendment.3
 8            In sum, where Bayside has not identified the benefits it would enjoy from unmasking, and
 9   Twitter has identified the significant injuries to the people who use its platform and to free speech
10   that would result, “the scales tip decidedly” in Twitter’s favor such that the Court should quash
11   the motion. Highfields, 385 F. Supp. 2d at 981.
12   D.       Twitter’s Motion was Timely Filed
13            Bayside argues that Twitter’s Motion is untimely. Opposition, at 4–5. That would be the
14   case had Twitter not timely served written objections, in compliance with Federal Rule of Civil
15   Procedure 45(d)(2)(B) prior to filing its Motion. Twitter is not aware of a single authority holding
16   that, where a nonparty objects to a subpoena “before the earlier of the time specified for
17   compliance or 14 days after the subpoena is served,” that party cannot then follow those
18   objections with a motion to quash thereafter.4 Rule 45 requires only that a motion to quash be
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20         More, it does not appear that Sheth is, in fact, a “private person.” His Wikipedia page, for
     instance, contains over a dozen links to news articles about him. See Brian N. Sheth, WIKIPEDIA,
21   https://en.wikipedia.org/wiki/Brian_Sheth (last accessed February 11, 2021). His family life
     appears in news publications. See Garrett Parker, 10 Things You Didn’t Know About Brian Sheth,
22   MONEY INC. (2017), https://moneyinc.com/10-things-you-didnt-know-about-brian-sheth/. His
     home purchases appear in news publications. See James McClain, Billionaire Brian Sheth pays
23   $15.5 million for the house next door, DIRT (Dec. 6, 2018, 11:03 AM),
     https://www.dirt.com/moguls/finance/brian-sheth-adria-house-beverly-hills-14886/.
24       4
           Bayside cites two cases in support of its definition of timeliness: Handloser and
     Schoonmaker. Handloser v. HCL Am., Inc., No. 19-cv-01242-LHK (VKD), 2020 WL 4700989
25   (N.D. Cal. Aug. 13, 2020); Schoonmaker v. City of Eureka, No. 17-cv-06749-VC (RMI), 2018
     WL 5829851 (N.D. Cal. Nov. 7, 2018). Handloser is irrelevant; it deals with a party’s objection
26   to a subpoena served on a nonparty and held that a party seeking to contest a subpoena served on
     a nonparty must move to quash before the date of compliance. Handloser, 2020 WL 4700989, at
27   *4. And Schoonmaker is equally irrelevant; it is a three-paragraph opinion finding that a nonparty
     waived her objections to a subpoena by failing to timely object or file a motion to quash.
28   Schoonmaker, 2018 WL 5829851, at *1.
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                                                                     TWITTER’S REPLY ISO MOTION TO QUASH
                                                                              CASE NO. 4:20-MC-80124 DMR
 1   filed “timely,” and there is no authority explaining what “timely” means where a nonparty had
 2   previously served objections in compliance with the Rules.
 3          Bayside’s interpretation would be illogical in this context. The result of untimely
 4   objections or of an untimely motion may be waiver of the objections. See Schoonmaker, 2018 WL
 5   5829851, at *1 (“The court finds Ms. Kramer’s failure to timely file objections as a waiver.”). But
 6   Twitter plainly did not waive any objections here; it timely served objections consistent with the
 7   Federal Rules. As a result, Bayside fails to articulate the result of the “untimeliness” of Twitter’s
 8   Motion. Bayside’s interpretation would also be unjust. It would establish that where a nonparty
 9   serves written objections, that nonparty’s only ability to have those objections heard by a court
10   would be to await a motion to compel.
11          Logically, the interpretation of “timely” under Rule 45 must account for a nonparty’s right
12   to timely serve written objections in accordance with Rule 45(d)(2)(B) and meet and confer with
13   issuing counsel. This may obviate the need for a motion to quash entirely. But if it does not, a
14   motion to quash filed thereafter should be “timely” so long as it is filed within a reasonable time
15   after the conclusion of informal efforts to resolve those objections without the Court’s
16   involvement. See Friedman v. Old Republic Home Prot. Co., No. SACV 12-1833 AG (OPx),
17   2014 WL 12845131, at *2 (C.D. Cal. June 24, 2014) (“It is not appropriate…to rob CRES of the
18   opportunity to move to quash the subpoena because its good faith efforts to resolve the matter
19   outside of Court made its request untimely under some decisions interpreting Rule 45.”).
20          Where Twitter’s objections were unquestionably served timely, its Motion was similarly
21   “timely” under Rule 45 because it was filed the same day that it became apparent that Twitter and
22   Bayside were at an impasse regarding Twitter’s objections. During efforts to meet and confer,
23   Bayside threatened to move to compel Twitter’s compliance unless Twitter would produce the
24   Account’s identifying information by Friday, January 22, 2021. Opposition, Ex. 6, at 3. On that
25   day, at 11:46 p.m., Bayside provided Twitter’s counsel with the photographs at issue and, in light
26   of Bayside’s response, offered to wait until “3pm pacific time tomorrow” (Saturday) before
27   making good on its prior threat to move to compel Twitter’s compliance. Opposition, Ex. 7, at 1.
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                                                                      TWITTER’S REPLY ISO MOTION TO QUASH
                                                                               CASE NO. 4:20-MC-80124 DMR
 1   Twitter filed its Motion on Saturday, January 23. Thus, to avoid facing an unwarranted motion to
 2   compel, Twitter “timely” filed its Motion to Quash.
 3   E.     The Court Should Disregard Bayside’s Irrelevant Remarks About Twitter’s DMCA
            Practices
 4

 5          Twitter removed the copyrighted images from its platform promptly after receiving a
 6   DMCA takedown request from Bayside. That takedown is not at issue in this litigation, and the
 7   process by which the photographs were removed is entirely irrelevant to an adjudication of the
 8   Account’s First Amendment rights. Regardless, Bayside complains about being asked to use
 9   Twitter’s takedown form. See Opposition, at 2–3. This is nothing more than a failed negotiating
10   tactic. In immediate response to Twitter’s filing its Motion, Bayside’s counsel called Twitter’s
11   counsel, asking Twitter to withdraw the Motion. If Twitter refused, Bayside warned, then
12   Bayside’s opposition would “expose” Twitter’s DMCA practices, which he suggested “could
13   invite” future litigation. Twitter declined to withdraw the Motion, as Bayside’s claims are
14   meritless, and Twitter’s practices have now been outlined for no apparent reason.
15                                        III.    CONCLUSION
16          For the reasons articulated in Twitter’s Motion and above, the Court should quash
17   Bayside’s subpoena.
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                                                                    TWITTER’S REPLY ISO MOTION TO QUASH
                                                                             CASE NO. 4:20-MC-80124 DMR
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                                                TWITTER’S REPLY ISO MOTION TO QUASH
                                                         CASE NO. 4:20-MC-80124 DMR
